Case 1:22-mj-01259-RT Document 12 Filed 07/25/22 Page 1 of 2       PageID #: 47




              IN THE UNITED STATES DISTRICT COURT
                                                                        FILED IN THE

                    FOR THE DISTRICT OF HAWAII                 UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII
                                                               July 25, 2022 11:56 a.m.
                                                               Pam Hartman Beyer, Clerk of Court
UNITED STATES OF AMERICA,     )         MJ 22-1259 RT
                              )
             Plaintiff,       )
                              )
       vs.                    )
                              )
(01) WALTER GLENN             )
PRIMROSE, aka “Bobby Edward   )
Fort”; (02) GWYNN DARLE       )
MORRISON, aka “Julie Lyn      )
Montague”                     )
                              )
             Defendants.      )
_____________________________ )


 Government’s Submission of Photographs in Support of
      Motion to Detain Defendants Without Bail
Case 1:22-mj-01259-RT Document 12 Filed 07/25/22 Page 2 of 2   PageID #: 48
